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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


KAREN READ,

    vs.                                CASE NO. 1:25−CV−10399−FDS

NORFOLK COUNTY SUPERIOR COURT,




                                             ORDER

      F. Dennis Saylor IV, D.J.


          In accordance with 28 USC §2241, the Clerk of this Court is hereby ordered to
      serve a copy of the Petition for Writ of Habeas Corpus by mailing copies of same to
      the Respondent AND the Attorney General for the Commonwealth of
      Massachusetts, Attention: James T. Arguin, Assistant Attorney General, Office of
      the Attorney General, Appellate Division, One Ashburton Place, 19th Floor,
      Boston, MA 02108−1598.


          It is further ordered that the Respondent shall, within 21 days of receipt of this
      Order, file an answer (or other proper responsive pleading) to the Petition for Writ
      of Habeas Corpus. The answer (or other responsive pleading) must also include a
      statement notifying this Court of the existence of any victim or victims as defined
      by 18 USC §3771.




                                                          /s/ − F. Dennis Saylor IV

 Dated: February 18, 2025                           UNITED STATES DISTRICT JUDGE
